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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
MHB, LLC
and
STEPHEN C. MURPHY CauSe No.:

Plaintiffs, 21St ]udicial Circuit

St. Louis County, Missouri
Cause No. 128L-CC04417

vS.
EVANSTON INSURANCE COMPANY

and

MARKEL SERVICES, INC.

\_/\_/\/V\/V\_/VVV\_/V\_/VVVV

Defendants.
NOTICE OF REMOVAL

COME NOW Defendants, Evanston Insurance Company and Markel Service,
Incorporated, erroneously Sued as ”Markel Services, Inc.” (collectively ”Defendants”),
and file this Notice of Removal to the United States District Court for the Eastern
District of Missouri, Eastern Division, under 28 U.S.C. §§1332, 1441 and 1446. In
Support, Defendants state as follows:

1. On November 20, 2012, Plaintiffs MHB, LLC and Stephen C. Murphy
(Collectively ”Plaintiffs”) filed a three count Petition (”Petition”) against Defendants in

the Circuit Court for St. Louis County, Cause No. 12SL-CC04417.

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2. Plaintiffs' Petition seeks to recover on an insurance policy for property
loss.

3. The controversy in the above-referenced action is wholly between citizens
of different states:

a. Plaintiff, MI-IB, LLC, is a Missouri limited liability company, duly
organized and existing under the laws of the State of Missouri, and
upon information and belief, none of the members of MHB, LLC, are
citizens of the State of Illinois or the Commonwealth of Virginia;

b. Plaintiff, Stephen C. Murphy is a citizen of the State of Missouri;

c. Defendant, Marl<el Service, Incorporated is a corporation duly
organized and existing under the laws of the Commonwealth of
Virginia, with its principal place of business in the Commonwealth of
Virginia; and

d. Defendant, Evanston Insurance Company, is an Illinois corporation
with its principal place of business in the State of Illinois.

4. The matter in controversy, exclusive of interest and costs, exceeds the sum
or value of Seventy-Five Thousand Dollars ($75,000) in that Plaintiffs' Petition claims
that Plaintiffs have been damaged in an amount that exceeds $1 million. (See Exhibit 1,

1[21, (Mo. State Court File)).

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5. Defendants were served with Plaintiffs' initial pleadings on December 6,
2012.

6. This Notice of Removal has been filed within thirty (30) days after receipt
by Defendants of a copy of Plaintiffs’ initial pleadings setting forth the claim for relief
upon which said action is based. Therefore, this Notice of Removal has been timely
filed pursuant to 28 U.S.C. § 1446.

7. Because complete diversity of citizenship exists between Plaintiffs and
Defendants and because the amount in controversy in this action exceeds the sum of
Seventy-Five Thousand Dollars ($75,000), removal to this Court is proper pursuant to 28
U.S.C. §§ 1332 and 1446.

8. Defendants file herewith a copy of all process, pleadings and orders
relevant hereto. The complete state court file is filed as an attachment to this Notice of
Removal.

WHEREFORE, Defendants Markel Service, Incorporated and Evanston
Insurance Company, request this Honorable Court to accept jurisdiction over this

action.

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BROWN & ]AMES, P.C.

/s/ Sean P. Dolan

 

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CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of the foregoing was sent
via U.S. Mail, postage prepaid this 27th day of December, 2012, to the following:

Terrance ]. Good
Rebecca M. Christensen
Lashly & Baer, P.C.

714 Locust Street

St. Louis, Missouri 63101

/s/ Sean P. Dolan

 

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